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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

OU ied Aitken

 

 

CV 5

 

 

Write the full name of each plaintiff. CV
(Include case number if one has been
assigned)
-against-
- COMPLAINT

Woah Mah tau

Do-you want a jury trial?

WN Yes [No

 

 

 

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

 

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include on/y: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initiats; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

Rev. 1/9/17

 

 
 

 

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I. BASIS FOR JURISDICTION

Federal courts are courts of fimited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may

be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?

$e Federal Question

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

 

 

 

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

on N, we c
‘The plaintiff, Owes’ Se FS KA veh Sess _ is acitizen of the State of

{Plaintiff's name}

YS Yo! <taaie

(State. in which the person resides and intends to remain.)

or, ifnot lawfully admitted for permanent residence in the United States, a citizen or

subject of the foreign state of

 

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

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If the defendant is an individual:

The defendant, Lver\ CV AISA , 18a citizen of the State of

(Defendant’s name)

AS ers Sas

or, if not lawfully admitted for permanent residence in the United States, a citizen or

subject of the foreign state of

 

lf the defendant is a corporation:

 

The defendant, € 4.) A La opr , is incorporated under the laws of

the State of As Kan Se, pi eAW YO IN C

and has its principal place of business in the State of po “f oO f f C
\

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

if more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Tl. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additionai

pages if needed.

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First Name Middle Initial Last Name
—?
(1% Jove dec ce ACTER
Street Address .
aagarst Wt & SHEE RY \uSbe
County, City State Zip Cede
Sa a 7 a7
SBS~ 24a -> TS bee kay SBF ED dade
Telephone Number Email Address (if available}

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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. if the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed In the
caption. Attach additional pages if needed.

Defendant 1: Lv \ ws COL +

First Name Last Name

 

 

Current Job Title (or other identifying information)

1 CoVBfans Voto 4 ON ve]

Current Work Address (or other address where defendant may be served)

 

 

 

 

 

 

 

Moncec , WevsSiy NY [4S 99

County, City | State Zip Code
Defendant 2:

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address {or other address where defendant may be served}

County, City State Zip Code
Defendant 3:

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defencant may be served)

 

County, City State Zip Code

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Defendant 4:

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

UI. STATEMENT OF CLAIM

 

 

 

Place(s) of occurrence: Cr Ve ECS / ye 7
Date(s) of occurrence: \ a./ “LO JA - | L / VO \ >
FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach

additional pages if needed.

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INJURIES:

if you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and recetved.

Zoot nal DiSte KS

 

 

 

 

 

IV. RELIEF

Siate briefly what money damages or other relief you want the court to order.

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V. PLAINTIFF'S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil

Procedure 11.

T agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may

result.in the dismissal.of my-case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

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Dated Plaintiff’ s Signature
\ [ 4
oS aS C A_\* eC \Q ery
First Name Middle Initial Ladt Name

“IDLY ke Ne Le c Pa etit

Street Address

Manrtse paicta Stes WI "'Y \YS¢o

 

 

 

ee City State Zip Code
Srya- eV <SWot boty SES Magma. «Com
cs Number Emait Address (if available)

Lhave read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:

&

Yes [LINo

Hf you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

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